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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION


NICHOLAS DEFOSSETT,                              §
                                                 §
                   Plaintiff,                    §                SA-21-CV-00257-DAE
                                                 §
vs.                                              §
                                                 §
STEINREAL CORPORATION,                           §
                                                 §
                   Defendant.                    §



                           ADVISORY TO THE DISTRICT COURT

       Before the Court is the above-styled cause of action, which was referred to the

undersigned to hold a status conference within 30 days of the appearance of Defendant. On June

11, 2021, the Court held a status conference as directed by the Direct Court, at which all parties

appeared through counsel via videoconference. Currently pending in this case is a Motion to

Dismiss filed by Defendant, which informs the Court that Defendant is not the owner of the

property that is the subject of this ADA lawsuit. The motion is ripe, as the time to respond has

expired. See Local Rule CV-7(e). Yet no response has been filed. At the hearing, Plaintiff

clarified that he is not opposed to the granting of the motion to dismiss and the dismissal of this

suit without prejudice.

       SIGNED this 14th day of June, 2021.




                                      ELIZABETH S. ("BETSY") CHESTNEY
                                      UNITED STATES MAGISTRATE JUDGE
